       Case 5:23-cr-00445-DAE          Document 67        Filed 10/30/24        Page 1 of 3




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                              Plaintiff,         )
V.                                               ) CRIMINAL NO. SA-23-CR-00445-DAE
                                                 )
(1) ADOLFO ANGEL ARRIAGA                         )
MEDRANO,                                         )
(2) ISAAC RAY GONZALES,                          )
                                                 )
                              Defendants.        )

               ADVISORY TO THE COURT REGARDING FORFEITURE

       COMES NOW the United States of America, Plaintiff, by and through the United States

Attorney for the Western District of Texas, and files this Advisory to the Court Regarding

Forfeiture. The United States respectfully advises the Court as follows:

                                                I.

       On August 16, 2023, an Indictment (Doc. 3) was returned against the Defendants in the

instant criminal case. The Indictment included a Notice of United States of America’s Demand for

Forfeiture which sought the forfeiture of specific personal property, namely:

       1. Smith and Wesson model Bodyguard 380 pistol, .380 ACP caliber, bearing serial
           number KEW5722;
       2. Springfield Armory model Hellcat Pro pistol, 9x19 mm caliber, bearing serial number
           BB298283;
       3. Glock model 19 Gen 5 pistol, 9x19 mm caliber, bearing serial number BYUN964;
       4. Israeli Weapon Industries model Tavor SAR rifle, .223 caliber, bearing serial number
           T0017408;
       5. Rapid Fire model RFG223 rife, 7.62x39 mm caliber, bearing serial number
           RFG01473;
       6. LWRC International model M6 rifle, 5.56x45 mm caliber, bearing serial number 35-
           09774;
       7. Sig Sauer model P365 pistol, 9x19 mm caliber, bearing serial number 66A038480;
       8. Smith and Wesson model SW9VE pistol, 9x19 mm caliber, bearing serial number
           RBT6358;
       9. Kimber model Micro 9 pistol, 9x19 mm caliber, bearing serial number SCB0022755;
       10. Smith and Wesson model SW40VE pistol, .40 caliber, bearing serial number
           DXA0679;
        Case 5:23-cr-00445-DAE          Document 67           Filed 10/30/24       Page 2 of 3




       11. Springfield Armory model Hellcat pistol, 9x19 mm caliber, bearing serial number
           BA493431; and
       12. Any and all firearms, ammunition, and/or accessories involved in or used in the
           commission of the criminal offenses,

hereinafter referred to as the Subject Property.

                                                   II.

       The United States advises this Court that it will not seek judicial forfeiture of Subject

Property Items #1-#8 and #10-#11 from the Defendants in the instant criminal case because these

items have been administratively forfeited by the Bureau of Alcohol, Tobacco, Firearms and

Explosives. The United States further advises that it will seek judicial forfeiture of the Kimber

model Micro 9 pistol, 9x19 mm caliber, bearing serial number SCB0022755, Item #9, from the

Defendants in the instant criminal case.

                                                         Respectfully submitted,

                                                         JAIME ESPARZA
                                                         United States Attorney

                                              By:        /s/
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                                                         Attorneys for the United States of America




                                                   2
       Case 5:23-cr-00445-DAE          Document 67        Filed 10/30/24     Page 3 of 3




                                 CERTIFICATE OF SERVICE


       I hereby certify that on October 30, 2024, the foregoing instrument was electronically filed

with the Clerk of the Court using the CM/ECF System which will transmit notification of such

filing to the following CM/ECF participants:

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                                                     /s/
                                                     MARY NELDA G. VALADEZ
                                                     Assistant United States Attorney




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